
Judgment of resentence, Supreme Court, New York County (William A. Wetzel, J.), rendered January 6, 2009, resentencing defendant to a term of 12 years, with five years’ postrelease supervision, unanimously affirmed.
The resentencing proceeding imposing a term of postrelease supervision (PRS) was not barred by double jeopardy, since defendant was still serving his prison term at that time, and therefore had no reasonable expectation of finality in his illegal sentence (see People v Murrell, 73 AD3d 598 [2010]).
We have considered and rejected defendant’s due process argument. Defendant’s statutory claims are similar to arguments that were rejected in People v Williams (14 NY3d 198 [2010]).
There is no basis for a reduction of the PRS term, or for a *909remand for reconsideration of that term. Concur—Saxe, J.E, Friedman, Moskowitz, Freedman and Román, JJ.
